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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                      CASE NO. 03-81083
       v.                                             JUDGE VICTORIA A. ROBERTS
                                                      MAGISTRATE JUDGE PAUL KOMIVES
JEREMY MacFARLANE, MARTIN
HERMIZ, PETER GIRGIS, MOMTAZ
TAWFIK, and HANSEE SESI,

               Defendants.
                                         /

                             REPORT AND RECOMMENDATION

I.     RECOMMENDATION: The Court should deny defendant Sesi’s motion in limine to

suppress evidence from trial (docket #57).

II.    REPORT:

A.     Procedural Background

       This criminal prosecution arises from the grand jury’s two-count indictment returned on

December 4, 2003. The indictment charges in Count I that each defendant, from on or before

February 5, 2002, until the date of the indictment, conspired to possess with the intent to distribute

more than 50 but less than 100 kilograms of marijuana, in violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(C), 846. Count II charges that each defendant, except for defendant Sesi, possessed with the

intent to distribute more than 50 but less than 100 kilograms of marijuana, in violation of 21 U.S.C.

§§ 841(a).

       The matter is currently before the Court on defendant Sesi’s motion to in limine to suppress



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evidence from trial, filed on December 8, 2006. Defendant Sesi contends that evidence that he was

discovered in possession of large amount of money at Detroit Metropolitan Airport is irrelevant

under Rule 401 and, alternatively, that its probative value is outweighed by the danger of unfair

prejudice under Rule 403. The government filed a response on December 26, 2006.

B.     Legal Standard

       Defendant contends that evidence of the airport search is not relevant under Rule 401, and

that its probative value is substantially outweighed by the danger of unfair prejudice. Under Rule

401, “‘Relevant evidence’ means evidence having any tendency to make the existence of any fact

that is of consequence to the determination of the action more probable or less probable than it

would be without the evidence.” FED. R. EVID. 401; see also, JEREMY BENTHAM, RATIONALE OF

JUDICIAL EVIDENCE 17-18 (1827) (defining evidence as “any matter of fact, the effect, tendency,

or design of which, when presented to the mind, is to produce a persuasion concerning the

existence of some other matter of fact: A persuasion either affirmative or disaffirmative of its

existence.”). Under Rule 402, except as otherwise provided by the Constitution, statutes, or other

rules, relevant evidence, as defined in Rule 401, is admissible, and irrelevant evidence is not

admissible. FED. R. EVID. 402. The threshold established by Rules 401 and 402 is not demanding.

Under the rules, an item of evidence that has any probative value, no matter how slight, is relevant

and presumptively admissible. In Professor McCormick’s famous formulation:

       An item of evidence, being but a single link in the chain of proof, need not prove
       conclusively the proposition for which it is offered. . . . It is enough if the item could
       reasonably show that a fact is slightly more probable than it would appear without
       that evidence. . . . A brick is not a wall.

JOHN W. STRONG, MCCORMICK ON EVIDENCE § 185 (5th ed. 1999).

       Rule 403 provides that otherwise relevant evidence “may be excluded if its probative value

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is substantially outweighed by the danger of unfair prejudice, confusion of the issues, or

misleading the jury, or by considerations of undue delay, waste of time, or needless presentation

of cumulative evidence.” FED. R. EVID. 403 (emphasis added). As used in Rule 403, “unfair

prejudice” means “an undue tendency to suggest decision on an improper basis, commonly,

though not necessarily, an emotional one.” FED. R. EVID. 403 advisory committee notes. Further,

“[i]n reaching a decision to exclude on the grounds of unfair prejudice, consideration should be

given to the probable effectiveness or lack of effectiveness of a limiting instruction.” Id.; see FED.

R. EVID. 105.

C.      Analysis

        This case is based primarily on the fruits of a search of 11209 Glenis Street, in Sterling

Heights, Michigan, on February 5, 2002. The search warrant affidavit was prepared by Sterling

Heights Police Detective James Belmonte, and the warrant was issued by Judge Stephen S.

Sierawski of the 41-A District Court. The affidavit was sworn on February 4, 2002. See Br. in

Supp. of Def. MacFarlane’s Mot. to Quash, Ex. 1 [hereinafter “Affidavit”]. The Affidavit describes

the location to be searched, and describes the property to be searched for and, if found, seized, as

“[c]ontrolled substances . . . specifically but not limited to marijuana,” as well as any evidence of

drug trafficking. As factual support for the existence of probable cause, Detective Belmonte averred

that:

        •       On December 17, 2001, Sterling Heights Police Officer Tsouroullis seized trash bags
                located in front of the 11209 Glenis Street residence which “included miscellaneous
                packaging material indicative to illegal narcotics trafficking, and miscellaneous
                paperwork bearing the name of Jeremy Steven McFarlane [sic].”

        •       Defendant MacFarlane’s residency was confirmed via a LEIN check, and a silver
                Cadillac belonging to defendant Sesi was observed in the driveway of the residence.


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       •       Within the 30 days prior to the affidavit, defendant Sesi was stopped by federal law
               enforcement agents at Detroit Metropolitan Airport while attempting to board a flight
               to Arizona, a direct route for the transportation of marijuana to the Detroit area. At
               the time, defendant Sesi was in possession of a large quantity of cash, which was
               strapped to the inside of his legs.

       •       On January 15, 2002, Officer Tsouroullis seized trash left in front of the home, which
               included “a small amount of marijuana residue, stems, and seeds.”

       •       On February 4, 2002, the date of the affidavit, Detective Belmonte seized trash from
               the curb in front of the residence. The trash included “marijuana residue, stems and
               seeds (positive field test for marijuana content).

       •       Further surveillance of defendant Sesi on that date yielded observations that
               defendant Sesi “was engaged in apparent narcotic trafficking in parking lots within
               the City of Sterling Heights.”

       •       Surveillance of the residence “revealed numerous short-term vehicle traffic at all
               hours of the night.”

       •       Surveillance and investigation also revealed that defendant “Sesi has routinely, with
               the access of a house key, entered and existed the residence at 11209 Glenis while
               the homeowner was away,” and sometimes stayed the night. Defendant Sesi was
               also observed at his own home in Sterling Heights. According to Detective
               Belmonte, “[i]t is not uncommon for narcotics traffickers to routinely utilize several
               different residences to avoid detection[.]”

       Defendant contends that the information relating to his detention at the airport and

possession of a large amount of cash are not relevant to the conspiracy allegations involved in this

case. Defendant Sesi argues that there is no evidence of illegal activity relating to the cash, nor is

there any temporal connection between the cash and the search of the home over one month later.

Further, defendant argues, there are no allegations relating to money having been discovered in the

home, nor are there any allegations relating to travel. Finally, defendant argues, the evidence would

be unduly prejudicial because “[t]his information, if permitted to be presented at trial, will more than

likely lead members of a jury to improper and unsubstantiated conclusions, similar to the

conclusions that the government has asserted.” Def.’s Br., at 3-4.

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       The government disagrees, arguing that the evidence of the airport search is relevant for a

number of reasons. Noting that this is a conspiracy case in which defendant Sesi’s intent must be

shown, the government argues that the airport search is relevant because it was the incident which

set in motion the police activity–i.e., surveillance of defendant Sesi–which ultimately led to the

February 5, 2002, search. The government also argues that unexplained wealth is relevant to

demonstrate that defendant is involved in the drug trade, and that the airport search and search

warrant application are separated by only 18 days, and thus not temporally remote. Finally, the

government argues that the evidence is not unfairly prejudicial. The Court should agree with the

government, and should therefore deny defendant’s motion.

       Here, the evidence of the airport search and the quantity of cash found on defendant Sesi is

relevant to the conspiracy charges in this case. Defendant Sesi is charged in Count I with conspiracy

to possess with the intent to distribute marijuana. Evidence of other drug-related activity is therefore

relevant to establish defendant’s intent. “Financial aspects of drug trafficking represent an integral

part of a conspiracy to distribute controlled substances,” United States v. Castro, 908 F.2d 85, 88

(6th Cir. 1990), and “[i]t is well settled law that possession of large amounts of unexplained cash

is evidence of narcotics trafficking activities.” United States v. Certain Real Property & Premises

Known as 63-29 Trimble Road, Woodside, N.Y., 812 F. Supp. 335, 338 (E.D.N.Y. 1992); see also,

United States v. Okayfor, 996 F.2d 116, 119-20 (6th Cir. 1993); United States v. Collins, 764 F.2d

647, 654 (9th Cir. 1985). Nor were the airport search and the execution of the search warrant so

remote in time as to render the airport search irrelevant. Further, the evidence of the airport search,

which was the impetus for further investigation of defendant and ultimately led to the search of the

home, is relevant background information. See United States v. Martinez, 430 F.3d 317, 335 (6th


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Cir. 2005); United States v. Monsour, 893 F.2d 126, 129 (6th Cir. 1990).

       Nor can defendant establish that the probative value of the evidence is substantially

outweighed by the danger of unfair prejudice. Contrary to defendant’s argument, the evidence is

of more than slight probative value. See Collins, 764 F.2d at 654. Defendant has not identified any

unfair prejudice which will result from the introduction of the evidence. While defendant argues

that the jury may improperly infer that he was involved in a drug conspiracy based on the large

amounts of cash he was carrying, this is a permissible inference of the evidence. As the Sixth

Circuit has explained, “[u]nfair prejudice . . . does not mean the damage to a defendant’s case that

results from the legitimate probative force of the evidence; rather it refers to evidence which tends

to suggest decision on an improper basis.” United States v. Mendez-Ortiz, 810 F.2d 76, 79 (6th Cir.

1986). Further, defendant has offered nothing to suggest that any danger of unfair prejudice cannot

be limited by an appropriate instruction to the jury. Because defendant has failed to show a danger

that the evidence is likely to lead to a decision on an improper basis, the Court should deny his

motion in limine.

D.     Conclusion

       In view of the foregoing, the Court should deny defendant Sesi’s motion in limine to

suppress evidence from trial.

III.    NOTICE TO PARTIES REGARDING OBJECTIONS:

       The parties to this action may object to and seek review of this Report and Recommendation,

but are required to act within ten (10) days of service of a copy hereof as provided for in 28 U.S.C.

§ 636(b)(1) and E.D. Mich. LR 72.1(d)(2). Failure to file specific objections constitutes a waiver

of any further right of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Secretary of Health


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& Human Servs., 932 F.2d 505 (6th Cir. 1991); United States v. Walters, 638 F.2d 947 (6th Cir.

1981). Filing of objections which raise some issues but fail to raise others with specificity, will not

preserve all the objections a party might have to this Report and Recommendation. Willis v.

Secretary of Health & Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Federation

of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to E.D. Mich. LR 72.1(d)(2),

a copy of any objections is to be served upon this Magistrate Judge.

       Within ten (10) days of service of any objecting party's timely filed objections, the opposing

party may file a response. The response shall be not more than five (5) pages in length unless by

motion and order such page limit is extended by the Court. The response shall address specifically,

and in the same order raised, each issue contained within the objections.




                                               s/Paul J. Komives
                                               PAUL J. KOMIVES
                                               UNITED STATES MAGISTRATE JUDGE
Dated: 2/16/07
                                                 The undersigned certifies that a copy of the foregoing
                                                 order was served on the attorneys of record by electronic
                                                 means or U.S. Mail on February 16, 2007.

                                                                             s/Eddrey Butts
                                                                             Case Manager




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